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Plaintiff’s Exhibit 37
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 Date                                  Open          High         Low               Close       Volume
BBBYQ US Equity: Historical Values

 09/02/22                                8.51         8.75        8.17               8.63       31.24M

 09/01/22                                9.07         9.40        8.62               8.71       31.42M

 08/31/22                                8.81         9.97        8.76               9.53       81.01M

 08/30/22                              14.475        15.15       11.52              12.11       108.05M

 08/29/22                               11.49        14.88      10.821              13.35       138.79M

 08/26/22                               10.55        11.42      10.107              10.70       57.22M

 08/25/22                               10.16      10.3388       9.411              10.10       35.28M

 08/24/22                               11.07      11.9699        9.73              10.36       116.21M

 08/23/22                                9.63         9.82       8.449               8.78       39.61M

 08/22/22                                9.60        11.51        9.17               9.24       77.31M

 08/19/22                               11.55        12.55       10.26              11.03       136.51M

 08/18/22                               19.06      20.8099       16.16              18.55       174.91M

 08/17/22                               26.94        30.00       22.50              23.08       261.70M
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Date                 Open          High         Low               Close       Volume

08/16/22             15.715        28.60       15.36              20.65       395.32M

08/15/22              15.00        17.05       13.37              16.00       164.67M

08/12/22              11.04        13.28       10.39              12.95       80.13M

08/11/22             10.676        11.45       10.06              10.63       37.54M

08/10/22              10.60        10.63        8.88              10.51       51.99M

08/09/22              11.65        11.99       8.631               9.79       74.70M

08/08/22              10.92        13.34       10.75              11.41       124.71M

08/05/22               6.66         8.29       6.521               8.16       52.78M

08/04/22               6.06         6.49        6.00               6.15        9.06M

08/03/22               5.75         6.14       5.575               6.07       13.85M

08/02/22               5.78         6.53        5.64               5.79       19.06M

08/01/22               4.94         5.77      4.8577               5.77       11.46M
